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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION

PLANNED PARENTHOOD MINNESOTA,                            )
NORTH DAKOTA, SOUTH DAKOTA, and                          )
SARAH A. TRAXLER, M.D.;                                  )
                                                         )
                       Plaintiffs,                       )
                                                         )
       v.                                                )   CASE NO. 4:22-cv-4009
                                                         )
KRISTI NOEM, Governor,                                   )
JOAN ADAM, Interim Secretary of                          )
Health, Department of Health, and                        )
PHILIP MEYER, D.O., President, South                     )
Dakota Board of Medical and                              )
Osteopathic Examiners, in their official                 )
capacities,                                              )
                                                         )
                       Defendants.                       )
                                                         )

                                          COMPLAINT

               Plaintiffs Planned Parenthood Minnesota, North Dakota, South Dakota (“PPMNS”

or “Planned Parenthood”), and Sarah A. Traxler, M.D., by and through their undersigned counsel,

bring this Complaint against the above-named Defendants, their employees, agents, and successors

in office, and in support thereof state the following:

       1.      Plaintiffs are health care providers in South Dakota who bring this civil rights

action, seeking declaratory and emergency injunctive relief, on behalf of themselves and their

patients, under the United States Constitution and 42 U.S.C. § 1983, against portions of South

Dakota Department of Health Rule 44:67:04:13 (the “Rule”), attached hereto as Exhibit A. Absent

relief from this Court, the Rule will take effect on January 27, 2022.
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       2.      Under current law, South Dakota patients seeking to terminate an early pregnancy,

like patients nationwide, have the option of choosing a safe, non-surgical method of abortion using

medications alone. This is referred to as “medication abortion.”

       3.      With no medical justification or authority, the South Dakota Department of Health

(the “Department”) has promulgated a Rule that would force patients seeking a medication

abortion to be dispensed medication in a manner that is unduly burdensome and contrary to the

standard of care and the recommendations of the U.S. Food & Drug Administration (“FDA”) and

other leading medical organizations, including the American College of Obstetricians and

Gynecologists (“ACOG”). The Rule’s practical effect will be to make it impossible for Plaintiffs

to provide, and their patients to receive, medication abortions in South Dakota. At the very least,

the Rule will place significant barriers—on top of those already imposed by South Dakota law—

on patients’ ability to have a safe medication abortion.

       4.      To complete a medication abortion, patients take a regimen of two FDA-approved

prescription drugs: 1) mifepristone (also known by its brand name, Mifeprex), which blocks

progesterone, a hormone necessary to continue a pregnancy, and 2) misoprostol (also known by

its brand name, Cytotec), which softens the cervix and causes the uterus to contract and empty.

       5.      Although there are numerous problematic elements of the Rule, this action concerns

changes imposed by the Rule to the dispensation of the second drug of the regimen. Misoprostol

is an extremely common and safe drug, used not only for medication abortion, but also other

indications, including miscarriage treatment and the treatment of gastric ulcers.

       6.      Under existing South Dakota law, patients seeking a medication abortion are

dispensed both mifepristone and misoprostol on the same day, by a licensed physician, during an

in-person visit at a licensed abortion facility. The medications are dispensed at the second of two




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mandatory clinic visits (which by law must be a minimum of 72 hours apart). Patients take

mifepristone at the abortion clinic, and are given misoprostol with oral and written instructions to

take it 24 to 48 hours later at a location of their choosing, which is usually their home.

       7.      The dispensing of both medications at the same time is in accordance with the

regimen that appears on the label approved by the FDA, and decades of research demonstrating

that women are capable of following instructions on when and how to take misoprostol and that

allowing patients to have both medications dispensed at the same time gives them more control

over the process and reduces barriers to care, thereby improving health outcomes.

       8.      The Rule departs from this evidence-based protocol by prohibiting Plaintiffs from

dispensing, and patients from receiving, both medications at the same clinic visit. Instead, patients

would be forced to make an additional, third visit to the clinic to obtain the misoprostol from a

physician, no sooner than 24 hours after receiving the mifepristone. There is no medical

justification for imposing a mandatory delay and separate, in-person visit requirement for

misoprostol. On information and belief, no other state currently imposes such a requirement.

       9.      The Rule’s deviation from the standard of care hampers patients’ ability to follow

the proper medication abortion regimen and may increase their risk of complications. Accordingly,

because the Rule does not comport with best medical practices and burdens patients to their

detriment, PPMNS will be forced to stop providing medication abortions at its Sioux Falls health

center, the only generally available abortion provider in South Dakota. In addition, there are no

generally available South Dakota-based physicians who provide abortion. Out-of-state physicians

travel to Sioux Falls, and must do so twice in one week (due to existing laws) to provide abortion

services. From an operational standpoint, PPMNS simply would not be able to staff the Sioux Falls

health center in a way that would allow it to comply with the Rule.




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       10.     Even if Plaintiffs could comply, the Rule would impose severe burdens on patients

seeking a medication abortion. Many of PPMNS’s patients have limited financial means and many

already struggle to travel significant distances to reach the health center, twice. For some, the trip

is hundreds of miles each way. Forcing patients to expend additional time and resources to make

an additional, third trip to comply with the Rule will result in delays in accessing medication

abortion or having to forego it altogether, and increased medical risks.

       11.     The Rule only applies to misoprostol when dispensed for the purpose of providing

medication abortions, and does not apply to any other application of misoprostol, including

miscarriage management. There is no rational basis for this distinction.

       12.     The Department claims that the Rule is necessary to implement Governor Noem’s

Executive Order 2021-12, which is targeted at preventing patients from accessing medication

abortion via telemedicine. However, because South Dakota law already requires patients to meet

in-person with a physician twice before they can have a medication abortion, telemedicine cannot

be used for abortion. Moreover, the Rule’s mandatory delay requirement on the dispensing of

misoprostol in no way relates to the Governor’s effort to prohibit telemedicine.

       13.     If allowed to take effect, the Rule will violate Plaintiffs’ and patients’ due process

and equal protection rights under the 14th Amendment of the United States Constitution. These

harms will be felt immediately, as abortions are next scheduled to take place at the health center

on January 27, 2022, the same day the Rule is scheduled to take effect.

       14.     To protect the health of South Dakota women and the constitutional rights of

Plaintiffs and their patients and to avoid irreparable harm, Plaintiffs seek declaratory and

emergency and permanent injunctive relief against the Rule and its enforcement.




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                         SUBJECT MATTER JURISDICTION AND VENUE

       15.     This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343.

       16.     Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C.

§§ 2201 and 2202, Rules 57 and 65 of the Federal Rules of Civil Procedure, and the general legal

and equitable powers of this Court.

       17.     Venue is appropriate under 28 U.S.C § 1391(b) because a substantial part of the

events or omissions giving rise to Plaintiffs’ claims occurs in this judicial district.

                                                  PARTIES

       18.     Plaintiff PPMNS is a not-for-profit Minnesota corporation registered as a foreign

corporation doing business in South Dakota. PPMNS operates the Sioux Falls health center located

in Sioux Falls, South Dakota, which is licensed as an abortion facility by the South Dakota

Department of Health. The Sioux Falls health center provides a broad range of reproductive health

services, including physical exams, pregnancy testing and options education, contraception and

contraceptive education, testing for HIV and sexually transmitted infections (“STI”) and STI

treatment, screening for cervical and breast cancer, and medication and procedural abortion. All

of the physicians who practice at the Sioux Falls health center, including Dr. Traxler, are licensed

to practice medicine in South Dakota by the South Dakota Board of Medical and Osteopathic

Examiners (the “Board”). Plaintiffs sue on their own behalf and on behalf of PPMNS’s current

and future physicians, employees, staff, servants, officers, and agents who participate in abortions,

and on behalf of their current and future patients seeking medication abortion services.

       19.     Plaintiff Sarah A. Traxler, M.D., is a Board-certified obstetrician and gynecologist

licensed to practice medicine in Minnesota, North Dakota, South Dakota, Connecticut, Iowa,

Maine, Nebraska, and Rhode Island. She is the Medical Director of PPMNS, and travels from




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Minneapolis to Sioux Falls to provide medical services at the Sioux Falls health center. Dr. Traxler

is one of the few people who provides medication and procedural abortions at the Sioux Falls

health center. Dr. Traxler sues on behalf of herself and her current and future patients seeking

abortion services.

       20.     Defendant Kristi Noem is the Governor of the State of South Dakota. She is

responsible, under South Dakota law, to “supervise the official conduct of all executive and

ministerial officers” and to “see that the laws of the state are faithfully and impartially executed.”

S.D. Codified Laws §§ 1-7-1(1) to (2); see also S.D. Const. art. IV, § 3. Defendant Noem is sued

in her official capacity as Governor of the State of South Dakota.

       21.      Defendant Joan Adam is the interim Secretary of Health for the State of South

Dakota. She is the “head of the Department of Health.” S.D. Codified Laws § 1-43-2. The South

Dakota Department of Health has authority to engage in rulemaking “to protect the health and

safety of a patient,” id. § 34- 23A-51, and is responsible for the licensing of abortion facilities,

including PPMNS’s Sioux Falls health center, id. Each year, as part of renewing the health center’s

clinic license, the Department undertakes an exhaustive, unannounced multi-day series of clinic

inspections for compliance with the State’s abortion regulations. The Department “may suspend

or revoke a license issued under SDCL chapter 34-23A”—the chapter of South Dakota law

governing the performance of abortions—on account of the licensee’s “[v]iolation of any of the

provisions of SDCL chapter 34-23A or [Chapter 44:67 of the Administrative Rules, which

regulates abortion facilities].” S.D. Admin. R. 44:67:01:05(1); S.D. Codified Laws § 34-23A-51

(directing the Department of Health to “adopt rules . . . for the . . . suspension[] and revocation of

a license to operate an abortion facility”). The Rule, if promulgated, would be codified in Chapter




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44:67 of the Administrative Rules. Defendant Adam, her employees, agents, and successors in

office, are sued in their official capacities.

         22.     Defendant Philip Meyer, D.O. is the President of the South Dakota Board of

Medical and Osteopathic Examiners, the agency which is responsible for the licensure of Planned

Parenthood’s physicians, including Dr. Traxler. Under South Dakota law, the Board may “cancel,

revoke, suspend, or limit the license . . . of any physician . . . upon satisfactory proof . . . of . . .

unprofessional or dishonorable conduct.” S.D. Codified Laws § 36-4-29. The Board has broad

discretion to determine what behavior constitutes “unprofessional or dishonorable conduct.” S.D.

Att’y Gen. Op. No. 88-37 (Aug. 15, 1988), 1988 WL 483271; see also In re Setliff, 645 N.W.2d

601, 606 (S.D. 2002). The Eighth Circuit has held that violation of an abortion statute could be

grounds for action by the Board as conduct “unbecoming a person’s license to practice medicine.”

Planned Parenthood, Sioux Falls Clinic v. Miller, 63 F.3d 1452, 1467 (8th Cir. 1995) (citing S.D.

Codified Laws § 36-4-30(22)). Defendant Meyer is sued in his official capacity as President of the

Board.

                                        FACTUAL ALLEGATIONS

         A.     Plaintiffs and Current Abortion Services in South Dakota

         23.    PPMNS’s Sioux Falls health center is the only generally available abortion provider

in South Dakota.

         24.    In 2020, the last year for which state-wide abortion vital statistics are available,

PPMNS’s Sioux Falls health center provided 96% of abortions in the state. For calendar year 2021,

there were 190 abortions performed at the Sioux Falls health center. Approximately 40% of these

were medication abortions.




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       25.     The health center provides medication abortions through 77 days of pregnancy as

measured from the first day of the patient’s last menstrual period (“LMP”). It schedules procedural

(sometimes referred to as surgical) abortions through 13.6 weeks LMP. This means that all

abortions performed at the health center are first trimester abortions.

       26.     The health center schedules patients for abortions approximately four weeks out.

Abortions are next scheduled at the health center for January 27, 2022.

       27.     Because of the political stigma and hyper-regulation associated with performing

abortions in South Dakota, there has been no generally available South Dakota-based abortion

provider in more than 20 years. As a result, physicians, including Plaintiff Dr. Traxler, travel from

other states to Sioux Falls to ensure that abortion services remain available in South Dakota. Prior

to the pandemic, four physicians took turns traveling to Sioux Falls each month so that the health

center could offer abortions once per week. At the height of the pandemic, abortion services

stopped altogether in South Dakota, though they are gradually resuming. Currently, there are three

physicians traveling to Sioux Falls to perform abortions, with services being offered at the health

center twice a month. In 2022, the health center plans to expand these services.

       28.     Under existing South Dakota laws, in order to obtain an abortion, patients must

have two in-person visits with the same physician at the health center, three days apart. First,

patients must meet with a physician for a mandatory counseling visit. A minimum of seventy-two

hours later (excluding weekends and holidays), they must meet with the same physician again to

obtain their abortion. For medication abortions, patients receive both drugs in the regimen

(mifepristone and misoprostol) from a physician at this second, in-person appointment. They take

the mifepristone at the health center, and take the misoprostol twenty-four to forty-eight hours later

at a location of their choosing, usually their home.




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       29.     Patients are provided with the medical support they need throughout the process.

Patients are given a telephone number to call, staffed 24/7 by a medical professional, and

encouraged to call that number with any concerns. If and when patients need to use that number,

staff are able to help them manage and reduce side effects, offer them reassurance when those

effects are within the expected range, assess when a patient may be experiencing a rare

complication, and in those cases help the patient access follow-up care as needed.

       30.     There are many reasons why patients may prefer a medication abortion to a

procedural abortion. A medication abortion may feel more private, and allow them to complete

what for some is a difficult process at home, where they can be more comfortable and surround

themselves with their chosen support network. It also affords patients more flexible timing so that

they can meet their parenting and work obligations. Some patients fear invasive procedures

because they have had negative surgical experiences in the past, or because they have suffered

sexual violence and do not want instruments inserted into their bodies, as is required for procedural

abortions. Other patients need to conceal their abortion from an abusive partner or family member,

or from a partner or family member who does not agree with their decision to terminate their

pregnancy; this is easier to do with medication abortion than with procedural abortion because

medication abortion resembles a miscarriage.

       31.     For some patients, medication abortion is not only the preferred option, but the

safest one. For example, for patients with conditions like cervical stenosis, uterine fibroids, or

obesity, a procedural abortion carriers more risk than a medication abortion. And for patients with

vulvodynia or vaginismus, the instrumentation involved in procedural abortion would be quite

painful.




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       32.     Patients travel to the Sioux Falls health center from all over South Dakota as well

as several surrounding states in order to obtain a medication abortion. Of patients seeking a

medication abortion, close to 24% travel more than 150 miles round trip to get to the Sioux Falls

health center for each visit. Approximately 11% travel more than 300 miles round trip. This means

that in order to comply with South Dakota’s two-trip requirement, these patients must travel more

than 300 miles and 600 miles total respectively.

       33.     Many of the health center’s patients have low incomes. In 2021, 31% of patients

who obtained a medication abortion at the Sioux Falls health center had incomes below 110% of

the federal poverty level (“FPL”). For reference, in 2021, 110% of the FPL was an annual income

of $14,168 for a family of 1, and $29,150 for a family of 4.

       34.     Many of the patients who seek abortions in Sioux Falls are already mothers, and a

number of them are single mothers. Many have jobs. Some go to school. These responsibilities

must be put on hold while the patient travels to Sioux Falls for multiple appointments in order to

obtain an abortion.

       35.     Plaintiffs’ patients also include women who are victims of sexual assault and

women who are victims of domestic abuse. South Dakota has the third highest incidence of rape

in the country, nearly twice the national rate. Spending additional time and resources trying to

obtain an abortion increases the risk to their confidentiality.

       36.     As a result of the distances they must travel, their limited financial resources, their

obligations to their families, employers, and communities, and their concerns about confidentiality,

many of the patients seeking abortions in South Dakota already find it very difficult to come to

Sioux Falls to access abortion services.




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       B.      Medication Abortion Background

       37.     Legal abortion is one of the safest medical procedures in the United States, and is

far safer than continuing a pregnancy through to childbirth.

       38.     Medication abortion in particular is comparable in safety to the use of over-the-

counter medications like ibuprofen and to antibiotics.

       39.     Legal abortion is not only extremely safe but also extremely common;

approximately one in four women in this country will have an abortion by age forty-five.

       40.     In many states, medication abortion is widely accessible. For example, a number of

states allow providers to screen patients by telemedicine and provide them with medications by

mail-order pharmacy to avoid travel-related delays. In states like Minnesota and Iowa, providers

can also offer medication abortion via “site-to-site” telemedicine, where the patient is at one health

center and the physician at another health center. Moreover, in many states, medication abortion

can be provided by advanced practice clinicians. None of these options are available in South

Dakota, despite being supported by research demonstrating their safety.

       41.     ACOG has stated that abortion is essential health care. ACOG guidance endorses

modes of delivery that increase access to provide medication abortions, as safe and highly

beneficial for patients. ACOG also advocates against burdensome government restrictions that

make it harder for patients to access evidence-based care, such as mandatory waiting periods.

       42.     People seek abortion for a multitude of complicated and personal reasons that are

closely tied to their values, culture and religion, health and reproductive history, family situation

and support system, educational and/or career goals, and resources and financial stability.




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       43.     Since mifepristone’s approval by the FDA in 2000, more than four million people

in the United States have obtained a medication abortion using mifepristone and misoprostol to

end an early pregnancy.

       44.     Medication abortion accounted for 39% of all U.S. abortions in 2017, the last year

for which data is available.

       45.     Mifepristone, which is taken first, blocks the body’s receptors to progesterone, a

hormone necessary to sustain pregnancy. This causes the pregnancy tissue and lining of the uterus

to break down and separate from the uterine wall.

       46.     Misoprostol, which is the subject of this litigation, is taken 24–48 hours after the

mifepristone at a location of the patient’s choosing, usually their home. Twenty-two to 38% of

patients abort within 3 hours, and 50–60% do so within 5 hours of taking the misoprostol buccally

(i.e., dissolving the tablets between the cheek and gum). The process is clinically similar to

miscarriage.

       47.     In the rare instance when mifepristone and misoprostol fail to terminate a

pregnancy fully, the abortion may be completed by procedure, which is also a safe method to

terminate pregnancy. For reference, patients who have a first trimester procedural abortion

typically lie on an examination or operating table in a dorsal lithotomy position (on their backs

with their hips and knees flexed and thighs apart), most often with their feet or legs in stirrups. The

abortion is performed by vacuum aspiration; the patient’s cervix is dilated, a tube is inserted

through the vagina and cervix into the uterus, and suction is applied through the tube to empty the

uterus. Patients having a procedural abortion in early pregnancy are often given pain medication

and/or a sedative prior to the procedure.




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       48.        Misoprostol is not only used in medication abortions; it is also routinely prescribed

as part of the management of incomplete abortions, miscarriage management, postpartum

hemorrhage, difficult IUD insertion and removal, and gastric ulcer treatment. The drug is

considered so safe that it is on the World Health Organization’s Model List of Essential Medicines.

Prescription of misoprostol in connection with management of incomplete abortion, management

of postpartum hemorrhage, and miscarriage management involves a higher risk of bleeding than

does its prescription for medication abortion.

       49.        Failing to take misoprostol after taking mifepristone may put patients at an

increased risk of significant complications. A study of the effects of interrupting the medication

abortion regimen was recently halted at an early stage because some of the enrolled subjects

hemorrhaged. The authors concluded: “Patients in early pregnancy who use only mifepristone may

be at high risk of significant hemorrhage.”

       C.         Federal Regulation of Mifepristone

       50.        Despite decades of research demonstrating the safety and efficacy of mifepristone,

since its approval in 2000, the FDA has subjected mifepristone to a federal Risk Evaluation and

Mitigation Strategy (the “REMS”). While the REMS has been modified over the years, it

significantly restricts how mifepristone can be distributed. It requires that mifepristone be

prescribed under the supervision of a health care provider who has registered with the drug

manufacturer and attested to their ability to safely prescribe mifepristone.

       51.        Prior to the COVID-19 pandemic, the REMS required that mifepristone be

dispensed to patients in clinics, medical offices, or hospitals. However, the FDA has recently

eliminated the in-person dispensing requirement altogether because it unnecessarily restricts

access to care.




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       52.     Notably, out of more than 20,000 FDA-approved drugs, mifepristone was, until

now, the only medication that the FDA forced patients to pick up in a clinical setting even though

they are free to self-administer it at the time and location of their choosing. However, the FDA

retained the other REMS requirements; this means that mifepristone will still be treated differently

than other medications of the same safety profile and will not be readily available in pharmacies.

Rather, providers and mail-order pharmacies will still be required to register with the FDA to

provide mifepristone through the mail.

       53.     The FDA’s decision to remove the in-person dispensing requirement for

mifepristone did not affect the dispensing of misoprostol because misoprostol was never subject

to the REMS, and (where allowed by state law) could already be obtained by mail-order or at retail

pharmacies.

       54.     Even the original FDA-approved label for Mifeprex in 2000 did not regulate the

dispensation of misoprostol. This label, which was written based on clinical trials conducted by

the manufacturer in the 1980s, described patients returning to the health center to have the

misoprostol administered, even though this was never the standard of care. Although the label

described this regimen, it did not impose a requirement on misoprostol. The standard of care in

2000 was, and still is today, to allow patients to self-administer misoprostol at a location of their

choosing, thereby removing the need for patients to return to the clinic.

       55.     In 2016, the FDA updated the Mifeprex label to reflect this standard and removed

any reference to patients returning to the clinic for the misoprostol. The FDA explained its decision

to update the label, stating: “There is no medical rationale against permitting the woman to be

given the misoprostol on the day of the initial clinic/office visit and self-administer it at a

convenient time in the next 24–48 hours at home. This would avoid another visit and the time,




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transportation, loss of work, inconvenience, etc. that such a visit would involve. Furthermore,

given the fact that 22–38% of women abort within 3 hours and 50–60% within 5 hours of buccal

misoprostol, it is preferable for the woman to be in a convenient, safe place (home or at a support

person’s location) for the expected uterine cramping and vaginal bleeding to occur.” (citations

omitted). The FDA label for mifepristone now specifically provides that as part of the medication

abortion regimen, “misoprostol does not need to be restricted to in-clinic administration.”

       56.     ACOG has also stated that patients can safely take both the mifepristone and the

misoprostol at home, which means there is no need for patients to make a separate visit to the clinic

to be dispensed the misoprostol.

       D.      Governor Noem’s Executive Order

       57.     In anticipation of the FDA’s decision to modify the REMS to eliminate in-person

dispensing for mifepristone, Governor Noem issued Executive Order 2021-12 on September 7,

2021 (“EO 2021-12”), attached hereto as Exhibit B.

       58.     EO 2021-12 states that the REMS change would “put South Dakotan women at risk

of serious health complications from abortion-inducing drugs.” EO 2021-12 further directs the

Department to “begin emergency rulemaking to be implemented pursuant to the [then] current

FDA REMS, which has had a 20-year track record of helping to protect women’s health with sound

medical practice.” In a public statement, Noem stated: “They are working right now to make it

easier to end the life of an unborn child via telemedicine abortion. . . That is not going to happen

in South Dakota.” 1




       1
          Stephen Groves, South Dakota governor orders restrictions on abortion meds, ABC
News (Sep. 7, 2021), https://abcnews.go.com/Health/wireStory/south-dakota-governor-orders-
restrictions-abortion-meds-79883385.

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        59.     As is relevant to this action, EO 2021-12 directs the Department to promulgate rules

that “ensure that medicines, drugs, or any other substances prescribed or dispensed with the intent

of terminating the pregnancy of a woman shall only be dispensed by a physician licensed in South

Dakota to a patient after examining her in-person to rule out contraindications, including but not

limited to, ectopic pregnancy[.]” EO 2021-12 also directs the Department to ensure that “no

manufacturer, supplier, physician, or any other person may provide any abortion-inducing drugs

directly to women in South Dakota via courier, delivery, telemedicine, or mail service.”

        60.     As discussed above, current South Dakota laws already require two in-person visits

with the physician who is providing the abortion, essentially ruling out the possibility of using

telemedicine for abortion in South Dakota. S.D. Codified Laws §§ 34-23A-10.1(1), (3); id. § 34-

23A-56.

        61.     Nothing in EO 2021-12 directs or even purports to authorize the Department to

impose a mandatory delay on the dispensation of misoprostol.

        E.      The Department’s Promulgation of the Rule

        62.     On October 21, 2021, Plaintiffs were first alerted to a proposed emergency rule

drafted by the Department that was a precursor to the Rule at issue, attached hereto as Exhibit C.

As relevant here, the draft emergency rule required medication abortion patients to return for an

additional visit to pick up the misoprostol 36–48 hours after the first dose of mifepristone. The

Department requested comments on the emergency rule by October 25, 2021, with the rule likely

to go into effect shortly thereafter.

        63.     Plaintiffs and others, including the South Dakota State Medical Association,

submitted comments opposing the Rule. The South Dakota State Medical Association’s comments

are attached as Exhibit D. Most relevant here, the South Dakota State Medical Association




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explained that the Rule’s dispensing restrictions on misoprostol were “clinically unnecessary” and

do “nothing more than create another barrier for the patient that may result in an increased risk of

hemorrhage and bad outcome.” About two weeks later, Plaintiffs learned that the rule would no

longer be proposed as an emergency rule, and instead go through the normal rulemaking process.

       64.     On November 8, 2021, the Department introduced a proposed rule that was similar

to the emergency rule, though it reduced the required period between the second and third visit to

24-72 hours and specified that its application is limited to medication abortion.

       65.     In its notice to the public of the hearing to adopt the Rule, the Department stated

that the Rule was “required per the Governor’s Executive Order 2021-12,” 2 and that the Rule is

necessary “to protect the health and safety of women that is [sic] at-risk due to the expected FDA

lifting of additional safety protocols regarding the use of mifepristone and misoprostol.” 3

       66.     As authority for its promulgation, the Rule cites S.D. Codified Laws §§ 34-23A-

51(7), (10), and (11) for the Department’s general rulemaking authority and S.D. Codified Laws

§§ 34-23A-10.1(3), 34-23A-19, and 34-23A-56 for its specific rulemaking authority. S.D. Codified

Laws § 34-23A-10.1(3), titled “Voluntary and informed consent required–Medical emergency

exception–Information provided,” relates solely to the information regarding medication abortion

that must be provided as part of South Dakota’s mandatory informed consent disclosure. S.D.

Codified Laws § 34-23A-19, titled “Performance of abortion–Required reports–Rules,” deals with

statistical information that must be reported to the State. And S.D. Codified Laws § 34-23A-56,

titled “Scheduling of abortion–Prior requirements,” is the law that imposes a 72-hour waiting

period between the initial clinic visit and when an abortion can be performed. In no way does the


       2
           S.D. Dep’t of Health, Form 14, Small Business Impact Statement Form, https://rules.sd.
gov/Uploads/684_BusinessImpactStatement.pdf.
         3
           S.D. Dep’t of Health, Form 6, Notice of Public Hearing to Adopt Rules § 44:67:04:13,
https://rules.sd.gov/Uploads/684_ PublicNotice.pdf.

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Department’s new restriction requiring a third, in-person visit for the dispensing of misoprostol

implement any of these statutes.

       67.     Nor does the Governor’s Executive Order provide the Department with authority

to promulgate the Rule. State law does not provide the Governor the right to create new law, nor

to order the Department to create new, specific laws to implement an executive order. Rather, the

Governor shall be responsible for the faithful execution of the law.

       68.     The Department held a public hearing on the Rule on December 8, 2021, at which

Dr. Traxler testified in opposition to the Rule. Additional written comments were submitted in

opposition, including from Dr. Traxler and the South Dakota Section of ACOG, composed entirely

of practicing physicians in South Dakota. The South Dakota Section of ACOG recommended the

removal of barriers to obtaining misoprostol—including the requirement that patients would need

to return to the health center to obtain the medication at a separate visit—to ensure that patients

complete the two-drug regimen. 4

       69.     The Department submitted the final proposed rule to the Legislative Research

Council and the Legislature’s Interim Rules Review Committee (the “Committee”) on December

20, 2021. The Committee, composed of six members of the Legislature, is responsible for

declaring that the rulemaking process is complete before an agency can finalize the rule.

       70.     The Department presented the Rule to the Committee on December 27, 2021. The

Department stated that “the purpose of the rule” is to “requir[e] in-person dispensing of both of




       4
          Comments submitted by email and first-class mail to the Honorable Kim Malsam-Rysdon
on behalf of South Dakota Section of ACOG by Mark Ballard, M.D., F.A.C.O.G.; Amy Kelley,
M.D., F.A.C.O.G.; Erica Schipper, M.D., F.A.C.O.G.; and Elizabeth Hultgren, M.D. Materials
attached to minutes of December 8, 2021 public hearing, p. 24, available at
https://rules.sd.gov/Uploads/684_AgencyHearingMin.pdf.

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these drugs,” and that “[t]he drugs must be prescribed, dispensed in a licensed abortion facility.” 5

Plaintiffs again offered testimony in opposition to the Rule. Additional written comments were

submitted to the Committee in opposition, including from the American Civil Liberties Union of

South Dakota.

       71.      A motion to deem the administrative process complete resulted in a 3-3 tie at the

December 27th meeting. After confusion as to whether the Department was authorized to go

forward with the Rule, one Committee member, Senator Timothy R. Johns, who had voted that

the process was not complete, stated that sufficient medical evidence had not been presented to

properly consider the Rule. The Committee agreed to reconvene on January 6, 2022.

       72.      On January 6, 2022, the Committee met again. A representative from the

Department testified, again, that the Department promulgated the Rule “to implement Governor

Noem’s Executive Order 2021-12,” that “[t]he purpose of this rule is to protect the health and

safety of women in South Dakota by requiring in-person dispensing of both [mifepristone and

misoprostol],” and that the Rule would “protect the women of South Dakota by maintaining the

requirement that women receive these drugs in-person by a licensed physician for the purpose of

a medical abortion.” 6 Additional testimony was provided by members of the public, including both

proponents and opponents (including Dr. Traxler) of the Rule. Although Senator Johns continued

to express concern that the Department was usurping the role of the Legislature by issuing the

Rule, the Committee voted 4-2 to deem the administrative process complete.

       73.      At every step of this process, Plaintiffs made clear to the Department and the

Committee that South Dakota law already bans abortion by telemedicine and that both


       5
          Four Hundred Fourth Meeting, Interim Rules Rev. Comm., (S.D. Dec. 27, 2021)
(statement of Ally Turnow, Staff Att’y, S.D. Dep’t of Health).
        6
          Four Hundred Fifth Meeting, Interim Rules Rev. Comm., (S.D. Jan. 6, 2022) (statement
of Ally Turnow, Staff Att’y, S.D. Dep’t of Health).

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mifepristone and misoprostol are already dispensed by a physician at a health center. This is just

not done at a separate visit for the misoprostol, which Plaintiffs explained was not only medically

unnecessary but actually contrary to the standard of care and patients’ best interests.

        74.    On January 11, 2022, Plaintiffs first learned that the Department had filed the Rule

on January 7, 2022. The Rule was uploaded onto the Secretary of State’s website on January 13,

2022.

        75.    The final rule, Rule 44:67:04:13, titled “Mifepristone and Misoprostol

Administration for Medical Abortion,” states “[b]etween 24-72 hours after taking Mifepristone, if

the pregnant woman decides to continue with the medical abortion, the pregnant woman must

return to the licensed abortion facility to receive the proper amount of Misoprostol. . . . Neither

Mifepristone nor Misoprostol may be dispensed for the purpose of inducing a medical abortion in

any manner contrary to this section.”

        76.    Violating the Rule is a basis for revoking Plaintiffs’ license. S.D. Admin. R.

44:67:01:05(1).

        77.    As per South Dakota administrative procedure, the Rule will become effective on

January 27, 2022.

        78.    On information and belief, South Dakota does not impose a mandatory delay on the

dispensation of any other drug, except, of course, mifepristone.

        79.    On information and belief, no other state currently imposes a mandatory delay and

separate, in-person dispensing requirement for the use of misoprostol, for any medical indication.

      F.     The Rule Will Impose Significant Burdens on Abortion Access and
Irreparably Harm Plaintiffs and their Patients.

        80.    The Rule will have a profound and devastating impact on the provision of

medication abortion in South Dakota: because Planned Parenthood cannot comply with the Rule,


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it will have to stop providing medication abortion at the Sioux Falls health center. The result will

be that patients in South Dakota seeking a medication abortion will be denied their method of

choice and, in some cases, the method that is medically indicated. The elimination of medication

abortion will also lead to a significant reduction in abortion appointments. Even if compliance

were possible, the Rule would impose significant barriers on patients’ ability to access medication

abortions.

       81.     Plaintiffs cannot comply with the Rule for several reasons. First, the Rule

unnecessarily imposes significant harms on patients. It deviates from the standard of care by

potentially interrupting the mifepristone-misoprostol regimen and requiring the medications to be

dispensed at two separate visits, 24 to 72 hours apart. This goes against guidance from both ACOG

and the FDA, as well as the accepted best medical practices of the last two decades, which make

clear that misoprostol is safe and effective for patients to self-administer at their homes. Such a

requirement only serves to make it more difficult for patients to access medication abortion.

       82.     Second, the Rule would severely burden medication abortion patients, creating

insurmountable obstacles for some. Requiring a third trip to the health center means that a patient’s

ability to obtain the drugs necessary to complete the medication abortion regimen, beginning with

the mandatory informed consent visit, would take a minimum of 96 hours from start to finish.

       83.     Requiring a third trip to the health center in one week would require time and

resources that many of PPMNS’s patients do not have. Some patients would be forced to choose

between making an additional round trip (bringing their total mileage to over 450 miles for about

24% of PPMNS’s medication abortion patients, and over 900 miles total for 11%) or finding

accommodations in Sioux Falls. Both options require not only additional financial resources, but

also additional time away from personal responsibilities, including child care, work, and school.




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        84.     Other patients would opt to unnecessarily delay care, which will in turn increase

medical risks. Additionally, while the medication abortion failure rate is low, it increases with

gestational age.

        85.     The Rule would be particularly burdensome for low-income patients. If the Rule

takes effect, some patients will not have the financial resources to pay for a third trip to the health

center, given the associated travel costs, lost wages, and increased child care costs.

        86.     In addition, many survivors of abuse and sexual assault find it very difficult to

explain absences from school, work, or home, as their abusers keep close tabs on their

whereabouts. Having to make a third trip to the Sioux Falls health center in a short period of time

would be extremely burdensome to these patients.

        87.     The burden of additional travel is compounded during the pandemic. Many patients

use public transportation, ride-sharing, or a borrowed car to reach the health center, all of which

expose the patient to risks of infection. If the patient is driving and stopping for gas or a restroom

on the way (which will necessarily occur given the distances many patients travel to reach Sioux

Falls), this will increase the likelihood of being exposed to COVID-19.

        88.     Research shows that barriers to care delay, and in some cases altogether prevent,

people from accessing that care. Specifically, when states require residents to make multiple trips

to an abortion provider to obtain care, many people are delayed in or prevented from making those

additional trips.

        89.     As discussed above, adding trips required to complete a medication abortion may

pose an unsurmountable obstacle for some patients. Travel plans can also be upended by

unforeseen circumstances, such as severe weather (particularly in the winter), road closures,

emergency orders, obstacles in obtaining child care or time off work, or illness, including COVID-




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19. For patients who are unable to come back to the health center and therefore take mifepristone

without taking misoprostol, this Rule may unnecessarily increase their chance of hemorrhage.

       90.     There is also the possibility that some patients who are delayed in returning to the

health center may not be able to make the third trip to get the misoprostol during the medically-

appropriate 24 to 48 hour window. Because the health center is only able to provide abortion

services two to three times per month, these patients may have to wait 1–2 weeks to see a physician.

For some, this delay may mean that they are no longer within the gestational-age limit for

medication abortion and would need a procedural abortion. Because the next available physician

may be different from the physician the patient originally saw, these patients may be required to

restart the informed consent process.

       91.     No other procedure for which misoprostol is indicated, including management of

incomplete abortions, miscarriage management, management of postpartum hemorrhage, difficult

IUD insertion and removal, and the treatment of stomach ulcers, requires a third, in-person visit

before dispensation. However, prescription of misoprostol in connection with management of

incomplete abortion, management of postpartum hemorrhage, and miscarriage management

involves a higher risk of bleeding than does its prescription for medication abortion.

       92.     PPMNS will not subject patients to the increased health risks and other harms from

providing care according to the Rule, with absolutely no medical benefits.

       93.     Even if PPMNS did not have ethical and safety concerns about the Rule, it

logistically could not comply. The few physicians who provide abortion services at PPMNS in

South Dakota would not be able to return to Sioux Falls to meet patients for a third appointment

within the strict time frames mandated by existing South Dakota law (at least 72 hours between

first and second visit), by the Rule (at least 24 hours between second and third visit), and by the




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medication abortion regimen itself (at least 24 but no more than 48 hours between ingesting

mifepristone and ingesting misoprostol). Because of other professional responsibilities, physicians

are also unable to stay overnight in South Dakota for the required minimum 24-hour waiting period

between the second and third visits.

       94.     As a result, Plaintiffs will be forced to stop providing medication abortions at the

Sioux Falls health center. This means, if the Rule goes into effect, every patient seeking a

medication abortion will be denied the method of their choice, and in some cases, the method that

is medically indicated.

       95.     The elimination of medication abortion at the Sioux Falls health center will also

have spill-over effects on PPMNS’s capacity to provide abortion services. Because procedural

abortion is more time-intensive than medication abortion, PPMNS cannot offer the same number

of abortion appointments in one day if it can only provide procedural abortions.

       96.     Using a conservative estimate, PPMNS anticipates that it will have to reduce

appointments by 30%. Given that PPMNS currently schedules patients approximately four weeks

out, and (due to other legal restrictions) can only provide procedural abortions up to 13.6 weeks

LMP, a 30% reduction in available appointments will have a devastating impact on access to

abortion in South Dakota. This will cause delays for all patients, and some will be prevented from

accessing care altogether.

       97.     Even though abortion is an extremely safe procedure, its risks increase with

gestational age. Moreover, there are many patients for whom waiting for their abortion would not

be medically advisable, including those who are suffering from pregnancy complications such as

hyperemesis gravidarum, gestational diabetes, or gestational hypertension. Prolonged pregnancy

can also exacerbate pre-existing conditions.




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       98.     Those who are forced to carry unwanted pregnancies to term could face ensuing

risks to their physical, mental, and emotional health, as well as to the health of their family.

Pregnancy, childbirth, and an additional child may exacerbate an already difficult situation for

patients who have experienced sexual assault or domestic violence. And research has found that

women denied an abortion were four times more likely than women who received an abortion to

experience economic hardship and insecurity lasting for years, with serious consequences for those

women and their families.

       99.     On information and belief, this Rule was passed with the purpose of making it

unduly burdensome for patients to have a medication abortion.

       100.    This Rule is in clear violation of federal constitutional law.

       101.    If the Rule is allowed to take effect, Plaintiffs and their patients will be subject to

irreparable harm.

       102.    Enforcement of the Rule will cause irreparable harm for which no adequate remedy

at law exists by—among other violations of Plaintiffs’ and their patients’ constitutionally protected

rights as outlined in the claims for relief—depriving Plaintiffs’ patients of their constitutional right

to have an abortion and subjecting Plaintiffs to significant licensing penalties, including revocation

of Planned Parenthood’s license to operate a health care facility in Sioux Falls and its physicians’

licenses to practice medicine.

                                       FIRST CLAIM FOR RELIEF
                                 (Substantive Due Process—Undue Burden)

       103.    Plaintiffs reallege and incorporate by reference the allegations contained in

paragraphs 1 through 102.

       104.    The Rule imposes an undue burden because it is not reasonably related to any

legitimate state interest and also has the purpose and effect of placing a substantial obstacle on


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women’s right to choose abortion, in violation of their right to liberty and privacy guaranteed by

the Fourteenth Amendment to the United States Constitution.

                                    SECOND CLAIM FOR RELIEF
                                         (Equal Protection)

        105.    Plaintiffs reallege and incorporate by reference the allegations contained in

paragraphs 1 through 102.

        106.    The Rule imposes arbitrary classifications on physicians who prescribe (and

patients who are prescribed) misoprostol for use in medication abortion without sufficient

government interest in violation of the Equal Protection Clause of the Fourteenth Amendment to

the United States Constitution and must be enjoined.

                                         REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs ask this Court:

        A.      To enter a judgment declaring that the Rule’s mandatory delay and separate visit

requirements for the dispensing of misoprostol violate the United States Constitution on its face

and/or as applied to Plaintiffs and their patients.

        B.      To issue such interim injunctive relief as may be necessary to maintain the status

quo pending award of a final judgment, and a permanent injunction restraining Defendants, their

employees, agents, and successors in office from enforcing the Rule on its face and/or as applied

to Plaintiffs and their patients.

        C.      To award Plaintiffs their attorneys’ fees and costs pursuant to 42 U.S.C. § 1988.

        D.      To grant such other and further relief as the Court deems just and proper.



Dated: January 19, 2022                                /s/ Stephanie Amiotte
                                                       Stephanie Amiotte (SD Bar #3116)
                                                       Andrew Malone (SD Bar #5186)


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